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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No: SA CV 19-01805-DOC (JDEx)                              Date: October 17, 2022

   Title: PINN, INC., v. APPLE INC.

 PRESENT: THE HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

              Karlen Dubon                                     Court Smart
             Courtroom Clerk                                  Court Reporter

         ATTORNEYS PRESENT FOR                              ATTORNEYS PRESENT FOR
               PLAINTIFF:                                        DEFENDANT:
              Cabrach Connor                                     Chris Marchese
               David Skeels                                       Seth Sproul
               Jennifer Lee                                      Roger Denning

   PROCEEDINGS:                 DEFT.'S MOTION IN LIMINE (#17-20) TO
                                PRECLUDE IMPROPER ARGUMENT,
                                EVIDENCE, OR QUESTIONS BASED ON PINN'S
                                CONDUCT IN FIRST TRIAL [688]

                                NOTICE OF MOTION AND MOTION FOR
                                JUDGMENT AS A MATTER OF LAW ON THE
                                BASIS OF: NONINFRINGEMENT RE THE "FIND
                                MY" AIRPODS FEATURE [682]

   The case is called. The Court and counsel confer.

   The Court gives tentative rulings and hears arguments.

   Oral arguments for Defendant’s Motions in Limine [688] and Motion for Judgment as a
   Matter of Law [682] are taken under advisement.

   The Court’s written order to issue.
                                                                                     :      31
                                                                     Initials of Deputy Clerk: kdu
